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                                       UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF SOUTH CAROLINA

IN RE:                                                      CASE NO: 19-01935-dd

Charles William Johnson, Sr. and                            CHAPTER: 7
Patricia Gosney Johnson
204 Old Hickory Drive                                       NOTICE OF OBJECTION TO PROOFS OF CLAIMS
Conway, SC 29526
SS ending 1345 and 5148
                                           DEBTOR

TO:      Claimants and Attorneys, as shown on the attached Certificate of Mailing:

KEVIN CAMPBELL, Trustee, hereby objects to the claims attached to this notice, asking that the claims
heretofore filed against the estate be examined and rejected, disallowed, or reduced for the reasons stated on
the attached objections to claims.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.)

If you do not want the court to approve the sale of the property, or you want the court to consider your views
on the application, then within THIRTY (30) DAYS of service of this notice, you or your attorney must:

           File with the court a written response, return, or objection at:
                    1100 Laurel Street
                    Columbia, SC 29201

Responses, returns, or objections filed by an attorney must be electronically filed in ecf.scb.uscourts.gov.

If you mail your response, return, or objection to the court for filing, you must mail it early enough so the
court will receive it on or before the date stated above.

      You must also send a copy to: KEVIN CAMPBELL, TRUSTEE, Post Office Box 684, Mt. Pleasant, SC 29465

Attend the hearing scheduled to be heard on January 14, 2020at 9:00 a.m. at the United States Bankruptcy
Court, 145 King Street, Suite 225, Charleston, South Carolina.

If no response, return, and/or objection is timely filed and served, no hearing will be held on this objection,
except at the direction of the judge.

      If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the application and may enter an order granting that relief.

Date of Service: November 27, 2019                             /s/ Kevin Campbell
                                                               KEVIN CAMPBELL, TRUSTEE
                                                               P. O. Box 684, Mount Pleasant, SC 29465-0684
                                                               Tel. No. (843) 884-6874
                                                               Fax No. (843) 884-0997
                                                               District Court ID No. 30
                                                               kcampbell@campbell-law-firm.com
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                                   UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF SOUTH CAROLINA

IN RE:                                              CASE NO: 19-01935-dd

Charles William Johnson, Sr. and                    CHAPTER: 7
Patricia Gosney Johnson

                                          DEBTOR

                                       CERTIFICATE OF MAILING

                  I, Suzanne Campbell Chisholm, Attorney for Kevin Campbell, Chapter 7 Trustee,

hereby certify that I have this day mailed a true and correct copy of the Trustee's Objections to

Claims and Proposed Order, properly addressed and proper postage affixed, to the parties, listed on

the attached mailing matrix.

         The Office of the United States Trustee and Debtor’s attorney are being noticed

electronically.

                                                 /s/ Suzanne Campbell Chisholm
                                               Suzanne Campbell Chisholm
                                               Attorney
                                               Kevin Campbell, Chapter 7 Trustee
                                               P. O. Box 684
                                               Mount Pleasant, SC 29465
                                               Tel. No. (843) 884-6874
                                               Fax No. (843) 884-0997
                                               Scampbell@campbell-law-firm.com

Dated: November 27, 2019
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MAILING MATRIX                  Bank of America, N.A.      Charles William Johnson, Sr. and
                                PO BOX 31785               Patricia Gosney Johnson
Charles William Johnson, Sr.    Tampa, FL 33631-3785       204 Old Hickory Drive
and Patricia Gosney Johnson                                Conway, SC 29526

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                             UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA

IN RE:                                            CASE NO: 19-02285-dd

Gregory Douglas Miller and                        CHAPTER: 7
Melissa Kristine Miller
                                      DEBTORS

                         TRUSTEE'S OBJECTIONS TO PROOFS OF CLAIM

        Comes now the undersigned, as Trustee in the above-captioned case, and hereby files his
objections and/or recommendations to following claims as filed in this case:

                                                                    REASON FOR OBJECTION
CLAIM                  NAME OF        FILED          FILED
         DATE FILED                                                 AND/OR RECOMMENDED
NO.                    CLAIMANT       STATUS         AMOUNT
                                                                    TREATMENT OF CLAIM
11       8/13/2019     Bank of        SECURED        $10,099.67     ALLOW THIS CLAIM AS
                       America,                                     SECURED BUT CLAIMANT
                       N.A.                                         WILL NOT RECEIVE A
                                                                    DISTRIBUTION FROM THIS
                                                                    BANKRUPTCY ESTATE
                                                                    BECAUSE THE TRUSTEE HAS
                                                                    NOT ADMINISTERED THE
                                                                    CLAIMANT’S COLLATERAL
                                                                    AND THE CLAIMANT HAS
                                                                    NOT OTHERWISE ASSERTED
                                                                    A DEFICIENCY.


                                                     /s/ Kevin Campbell
                                                     Kevin Campbell, Trustee
                                                     District Court Id. No. 30.
                                                     P. O. Box 684
                                                     Mount Pleasant, SC 29465-0684
                                                     Tel. No. (843) 884-6874
                                                     Fax No. (843) 884-0997
DATE: November 27, 2019                              E-Mail: kcampbell@campbell-law-firm.com
